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16   WhatsApp LLC and Meta Platforms, Inc.

17                              UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
                                       OAKLAND DIVISION
20
                                        )
21    WHATSAPP LLC and                  )          Case No. 4:19-cv-07123-PJH
      META PLATFORMS, INC., a Delaware  )
22    corporation,                      )          DECLARATION OF MICAH G. BLOCK
                                        )          IN SUPPORT OF PLAINTIFFS’
23
                      Plaintiffs,       )          MOTION FOR PARTIAL SUMMARY
24                                      )          JUDGMENT
             v.                         )
25                                      )           Date: November 1, 2024
      NSO GROUP TECHNOLOGIES LIMITED )              Time: 1:30 p.m.
26    and Q CYBER TECHNOLOGIES LIMITED, )           Ctrm: 3
                                        )           Judge: Hon. Phyllis J. Hamilton
27
                      Defendants.       )           Action Filed: October 29, 2019
28                                      )
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 1          I, Micah G. Block, declare as follows:
 2          1.      I am an attorney licensed to practice law in the state of California and am admitted
 3   to practice before this Court. I am a partner at Davis Polk & Wardwell LLP, counsel for Plaintiffs
 4   WhatsApp LLC and Meta Platforms, Inc. in the above-captioned matter. I submit this declaration in
 5   support of the Plaintiffs’ Motion for Partial Summary Judgment. I am personally familiar with the
 6   legal proceedings in this matter and make this declaration from my own personal knowledge, and I
 7   could and would competently testify to the following if called upon to do so.
 8          2.      Attached hereto as Exhibit 1 is a true and correct excerpt of the Expert Report of
 9   David Youssef, dated August 30, 2024.
10          3.      Attached hereto as Exhibit 2 is a true and correct excerpt of the deposition transcript
11   of Jonathan Lee, taken in this case on September 25, 2024.
12          4.      Attached hereto as Exhibit 3 is a true and correct excerpt of the deposition transcript
13   of Carl Woog, taken in this case on August 14, 2024.
14          5.      Attached hereto as Exhibit 4 is a true and correct excerpt of the deposition transcript
15   of Claudiu Gheorghe, taken in this case on August 16, 2024.
16          6.      Attached hereto as Exhibit 5 is a true and correct copy of Defendant NSO Group
17   Technologies Limited’s Supplemental Objections and Responses to Plaintiffs’ First Set of
18   Interrogatories, dated September 13, 2024.
19          7.      Attached hereto as Exhibit 6 is a true and correct excerpt of the deposition transcript
20   of Tamir Gazneli, taken in this case on September 4, 2024.
21          8.      Attached hereto as Exhibit 7 is a true and correct copy of a document that
22   Defendants produced in this case with Bates numbers NSO_WHATSAPP_00045678 through
23   NSO_WHATSAPP_00045711. This document was marked as Exhibit 2032 at the deposition of
24   Tamir Gazneli, taken in this case on September 4, 2024.
25          9.      Attached hereto as Exhibit 8 is a true and correct excerpt of the deposition transcript
26   of Ramon Eshkar, taken in this case on August 27, 2024.
27          10.     Attached hereto as Exhibit 9 is a true and correct copy of a December 5, 2018
28   WhatsApp exchange that third-party Joshua Shaner produced in this case with Bates numbers
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     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
     CASE NO. 4:19-CV-07123-PJH
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 1   SHANER_WHATSAPP_00001098 through SHANER_WHATSAPP_00001099. This document
 2   was marked as exhibit 2007 at the deposition of Ramon Eshkar, taken in this case on August 27,
 3   2024
 4           11.    Attached hereto as Exhibit 10 is a true and correct excerpt of the deposition
 5   transcript of Yaron Shohat, taken in this case on August 29, 2024.
 6           12.    Attached hereto as Exhibit 11 is a true and correct copy of a version of WhatsApp
 7   Terms of Service that Plaintiffs produced in this case with Bates numbers WA-NSO-00014825
 8   through WA-NSO-00014836. This document includes the text “[l]ast modified: August 25, 2016.”
 9           13.    Attached hereto as Exhibit 12 is a true and correct excerpt of the Expert Report of
10   Dana Trexler, CPA/CFF, dated August 30, 2024.
11           14.    Attached hereto as Exhibit 13 is a true and correct copy of a June 12, 2019
12   WhatsApp exchange that third-party Joshua Shaner produced in this case with Bates numbers
13   SHANER_WHATSAPP_00001513 through SHANER_WHATSAPP_00001515. This document
14   was marked as Exhibit 2058 at the deposition of Joshua Shaner, taken in this case on September 23,
15   2024.
16           15.    Attached hereto as Exhibit 14 is a true and correct copy of a May 12, 2019
17   WhatsApp exchange that third-party Joshua Shaner produced in this case with Bates numbers
18   SHANER_WHATSAPP_00001489 through SHANER_WHATSAPP_00001490. This document
19   was marked as Exhibit 2039 at the deposition of Tamir Gazneli, taken in this case on September 4,
20   2024.
21           16.    Attached hereto as Exhibit 15 is a true and correct copy of a May 8, 2019 WhatsApp
22   exchange that third-party Joshua Shaner produced in this case with Bates numbers
23   SHANER_WHATSAPP_00001480 through SHANER_WHATSAPP_00001482.
24           17.    Attached hereto as Exhibit 16 is a true and correct excerpt of the deposition
25   transcript of Joshua Shaner, taken in this case on September 17, 2024.
26           18.    Attached hereto as Exhibit 17 is a true and correct copy of a document Defendants
27   produced in this case with Bates numbers NSO_WHATSAPP_00044814 through
28   NSO_WHATSAPP_00044835. Defendants originally produced Exhibit 17 with all of the phone
                                                        2
     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT - CASE
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 1   numbers for these test devices owned by Defendants redacted for “PII,” which I understand to refer
 2   to personal identifiable information. Defendants produced an unredacted version on September 13,
 3   2024 and designated it “Highly Confidential – Attorneys’ Eyes Only.” On September 16, 2024,
 4   counsel for Plaintiffs sent an email to counsel for Defendants asking Defendants to “please confirm
 5   that Plaintiffs may extract and share the phone numbers in these documents with the business
 6   personnel necessary to obtain any associated WhatsApp account and registration information for
 7   use in this litigation,” and asked to confer regarding Plaintiffs’ challenge to the “HC-AEO
 8   designation with respect to that information” if Defendants refused. Counsel for Defendants
 9   responded on September 18, 2024 to request the “litigation need to share Defendants’ confidential
10   business information with WhatsApp’s business personnel,” and offered to confer on Monday,
11   September 23, 2024. Counsel for Plaintiffs responded on September 18 and explained that “[t]he
12   litigation need is to determine whether these phone numbers were registered to WhatsApp
13   accounts, and whether they agreed to the Terms of Service,” and requested to meet and confer
14   before September 23. Counsel for Plaintiffs sent another email on September 23, 2024, “following
15   up on the request” and requesting that counsel for NSO provide either “consent to disclosure,” or
16   their availability to confer. As of the filing of this Declaration, counsel for Defendants have not
17   responded to Plaintiffs’ September 18 and 23 emails seeking consent to disclosure or availability to
18   confer. Several entries in Exhibit 17 show the values 2.20.172, 2.20.157, and 2.20.140 in the “WA
19   Version” Column. According to the accompanying Declaration of Meghan Andre, those versions
20   of WhatsApp were released after WhatsApp amended its Terms of Service on January 28, 2020.
21            19.   Attached hereto as Exhibit 18 is a true and correct excerpt of an excel spreadsheet
22   that Plaintiffs produced in native form under a cover sheet with Bates number WA-NSO-00192176.
23   This excerpt is a print from the native file, after filtering to show only entries for which (1) the
24   “account_type” column has the value “attacker” or “NSO Group” and (2) the “deletion_reason”
25   column has the value “purge.” In addition, for the “last_active,” “registration” and “deletion_time”
26   columns, the excerpt selects a “Format Cells” option that displays the contents of those columns as
27   dates.
28            20.   Attached hereto as Exhibit 19 is a true and correct excerpt of an excel spreadsheet
                                                        3
     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT - CASE
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 1   that Plaintiffs produced in native form under a cover sheet with Bates number WA-NSO-00192176.
 2   This excerpt is a print from the native file, after filtering to show only entries for which the
 3   “account_type” column has the value “attacker.” In addition, for the “last_active,” “registration”
 4   and “deletion_time” columns, the excerpt selects a “Format Cells” option that displays the contents
 5   of those columns as dates.
 6           21.    Attached hereto as Exhibit 20 is a true and correct copy of Defendants NSO Group
 7   Technologies Limited and Q Cyber Technologies Limited’s Responses and Objections to Plaintiffs
 8   WhatsApp, Inc. and Meta Platforms, Inc. fka Facebook, Inc.’s First Set of Requests for Admission,
 9   dated April 17, 2023.
10           22.    Attached hereto as Exhibit 21 is a true and correct excerpt of the deposition
11   transcript of Sarit Bizinsky Gil, taken in this case on September 6, 2024.
12           23.    Attached hereto as Exhibit 22 is a true and correct copy of a May 12, 2019
13   WhatsApp exchange that third-party Joshua Shaner produced in this case with Bates numbers
14   SHANER_WHATSAPP_00001487 through SHANER_WHATSAPP_00001488. This document
15   was marked as Exhibit 2057 at the deposition of Joshua Shaner, taken in this case on September 23,
16   2024.
17           24.    Attached hereto as Exhibit 23 is a true and correct copy of a version of WhatsApp
18   Terms of Service that Plaintiffs produced in this case with Bates numbers WA-NSO-00195067
19   through WA-NSO-00195075. This document includes the text “[l]ast modified: January 28, 2020.”
20           25.    Attached hereto as Exhibit 24 is a true and correct copy of a document that
21   Defendants produced in this case with Bates numbers NSO_WHATSAPP_00008957 through
22   NSO_WHATSAPP_00008962. This document was marked as Exhibit 2033 at the deposition of
23   Tamir Gazneli, taken in this case on September 4, 2024.
24           26.    Attached hereto as Exhibit 25 is a true and correct excerpt of the Expert Report of
25   Anthony Vance, dated August 30, 2024.
26           27.    Attached hereto as Exhibit 26 is a true and correct excerpt of the Supplemental
27   Expert Report of Dana Trexler, CPA/CFF, dated September 21, 2024.
28           28.    Attached hereto as Exhibit 27 is a true and correct copy of an excel spreadsheet that
                                                        4
     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT - CASE
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 1   Defendants produced in this case with Bates number NSO_WHATSAPP_00045858. This
 2   document was marked as Exhibit 2045 at the deposition of Sarit Bizinsky Gil, taken in this case on
 3   September 6, 2024.
 4          29.     Attached hereto as Exhibit 28 is a true and correct copy of a document that Plaintiffs
 5   produced in this case with Bates number WA-NSO-00166473.
 6          30.     Attached hereto as Exhibit 29 is a true and correct excerpt of Expert Rebuttal Report
 7   of David Youssef, dated September 21, 2024.
 8          31.     Attached hereto as Exhibit 30 is a true and correct excerpt of Rebuttal Report of
 9   Terrence McGraw, dated September 21, 2024.
10          32.     Attached hereto as Exhibit 31 is a true and correct copy of a document that third-
11   party E-Tel produced in this case with Bates number E-Tel0000923, and that Plaintiffs reproduced
12   to Defendants with Bates number WA-NSO-00004162.
13          33.     Attached hereto as Exhibit 32 is a true and correct copy of a January 31, 2018
14   WhatsApp exchange that third-party Terrence DiVittorio produced in this case with Bates numbers
15   DIVITTORIO_WHATSAPP_00000003 through DIVITTORIO_WHATSAPP_00000004.
16          34.     Attached hereto as Exhibit 33 is a true and correct excerpt of the deposition
17   transcript of Drew Robinson, taken in this case on September 19, 2024.
18          35.     Attached hereto as Exhibit 34 is a true and correct excerpt of the Rebuttal Report of
19   Gregory A. Pinsonneault, dated September 21, 2024.
20          36.     Attached hereto as Exhibit 35 is a chart prepared by Plaintiffs’ counsel. The “Phone
21   number” column lists certain phone numbers found in WhatsApp message conversations that third-
22   parties Joshua Shaner and Terrence DiVittorio produced in this litigation. The “Produced document
23   source” column shows the Bates number of a document in which each phone number appears. The
24   “Confidentiality stamping” column indicates the confidentiality designation on the document
25   indicated in the “Produced document source” column. Plaintiffs’ counsel provided these phone
26   numbers to Meghan Andre, who obtained related WhatsApp account information attached as
27   Exhibit A to the Declaration of Meghan Andre, as described in her declaration.
28          37.     Attached hereto as Exhibit 36 are all the documents identified by Bates number in
                                                        5
     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT - CASE
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 1   the “Produced document source” column in Exhibit 36.
 2          I declare under penalty of perjury that the foregoing is true and correct.
 3          Executed on 27th of September, 2024, in Redwood City, California.
 4

 5
                                                        /s/ Micah G. Block
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                                                        Micah G. Block
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     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT - CASE
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